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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

  Mary M. Laile (as personal representative          CIVIL ACTION NO. 2:19-cv-3689
  and Special Administrator of the Estate of
  Donna Gail Castleberry AKA Donna Gail
  Dalton, Decedent),
                                Plaintiff,
                                                    JUDGE MICHAEL H. WATSON
  vs.

  Andrew K. Mitchell, et. al.                       MAGISTRATE JUDGE
                                                    KIMBERLY L. JOLSON
                                Defendants.

                        JOINT STATUS REPORT OF THE PARTIES

         Plaintiff Mary M. Laile, (as personal representative and Special Administrator of

  the Estate of Donna Gail Castleberry AKA Donna Gail Dalton, Decedent), by and

  through the undersigned counsel, Defendants City of Columbus and Kim Jacobs by and

  through the undersigned counsel, hereby makes the following STATUS REPORT

  pursuant to the Court’s July 15, 2020 ORDER:

         The parties have arrived at a tentative settlement subject to approval of Franklin

  County Probate Court. Plaintiff will seek a two-part bifurcated order from the Probate

  Court. The first request will be for the approval of the settlement amount and for

  authority to execute the proposed release and a dismissal of the within action with

  prejudice. The second request will address the proposed distribution of the settlement

  funds to the surviving family members. Plaintiff avers that an additional 45 days may be

  sufficient to accomplish the first part of the bifurcated Probate proceedings.




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                                 Respectfully submitted

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                                 Trial Attorney for Plaintiff




                                 /s/ Westley M. Phillips
                                 By /s/ John W. Waddy, Jr. per
                                 Email authority of 8 31 2020
                                 Westley M. Phillips (0077728) -Lead
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                               CERTIFICATE OF SERVICE

     I hereby certify that on the 31sth day of August, 2020, I electronically filed the foregoing

  JOINT STATUS REPORT OF THE PARTIES with the Clerk of the Court using the

  CM/ECF system which will send notification of such filing to the following:




  CITY OF COLUMBUS, DEPARTMENT OF LAW
  ZACK KLEIN, CITY ATTORNEY

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